









Dismissed and Memorandum Opinion filed November 4, 2004









Dismissed and Memorandum Opinion filed November 4,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00955-CV

____________

&nbsp;

KENNETH G.
LUPP, Appellant

&nbsp;

V.

&nbsp;

RACHEL GIDREY,
Individually and as heir to the Estate of Robert E. Ammons, STEVENSON AND
AMMONS, L.C. and STEVEN A. BEARMAN d/b/a THE BEARMAN LAW FIRM, Appellees

&nbsp;



&nbsp;

On Appeal from the Probate Court
No. 1

Harris County,
Texas

Trial Court Cause No.
335545-401

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed May 20, 2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 








On October 4, 2004, notification was transmitted to all
parties of the court=s intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).&nbsp; Appellant
filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed November 4, 2004.

Panel consists of Chief Justice
Hedges and Justices Fowler and Seymore.

&nbsp;





